UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

GREENEVILLE
UNITED STATES OF AMERICA )
)
Vv ) No. = 2:09-CR-13
) JUDGE GREER
JOSH CARR )
PLEA AGREEMENT

The United States of America, by the United States Attorney for the Eastern District of
Tennessee, and defendant Josh Carr and the defendant’s Attorney, Jerry W. Laughlin, have
agreed upon the following:

l. The defendant will plead guilty to the following counts in the indictment:

a) Count Five, possessing with the intent to distribute a quantity of a mixture
and substance containing a detectable amount of marijuana in violation of 21
U.S.C. § 841{a)(1). The penalties to which the defendant will be exposed by
virtue of his guilty plea are as follows: not more than five years imprisonment,
$250,000 fine, two years to life on supervised release, and a $100 assessment on
each count.

Count Seven, possessing a firearm in furtherance of a drug trafficking
crime. The penalties to which the defendant will be exposed by virtue of his
guilty plea are as follows: mandatory minimum five year sentence which by
statute must be served consecutively with the sentence imposed on the underlying
offense, $250,000 fine, up to five years on supervised release,. and a $100
assessment . The United States also agrees not to further prosecute the defendant

in the Eastern District of Tennessee for any other non-tax criminal offenses

Case 2:09-cr-00013-JRG Document 27 Filed 04/15/09 Page lof8 PagelD #: 49
2.

committed by the defendant that are known to the United States Attorney’s Office
for the Eastern District of Tennessee at the time of the execution of this plea
agreement.

b) In consideration of the defendant’s guilty plea, the United States agrees to
move the Court at the time of sentencing to dismiss the remaining counts against
the defendant in this indictment.

The parties agree that the appropriate disposition of this case would be the

following as to each count:

a)

b)

The Court may impose any lawful term of imprisonment up to the statutory
maximum;

The Court may impose any lawful fine up to the statutory maximum;

The Court may impose any lawful term of supervised release up to the statutory
maximum;

The Court will impose a special assessment fee as required by law; and

The Court may order forfeiture as applicable and restitution as appropriate.

The defendant has read the indictment, discussed the charges and possible

defenses with defense counsel, and understands the crimes charged. The defendant is pleading

guilty because the defendant is in fact guilty.

4,

In support of the defendant’s guilty plea, the defendant agrees and stipulates to the

following facts. These are the facts submitted for purposes of the defendant’s guilty plea. They

do not necessarily constitute all of the facts in the case. Other facts may be relevant to

sentencing. Both the defendant and the United States retain the right to present additional facts

to the Court to ensure a fair and appropriate sentence in this case.

2

Case 2:09-cr-00013-JRG Document 27 Filed 04/15/09 Page 2o0f8 PagelD#: 50
On November 24, 2008, in the Eastern District of Tennessee, the Sullivan County Drug
Task Force, assisted by the Bureau of Alcohol, Tobacco, Firearms, and Explosives executed a
search warrant at the residence of Shannon Widener and Josh Carr. Seized during the execution
of the search warrant was a .410 Rossi shotgun found loaded with the hammer back and a .25
caliber, Raven Arms semi-automatic pistol. Also found during the execution of the search
warrant were two glass pipes used for smoking drugs, a duffle bag containing marijuana, a bong,
digital scales and sandwich bags and over $4,000.00 in U.S. currency. Also found were
quantities of assorted pills and capsules. Prior to the execution of the search warrant, Shannon
Widener had engaged in a recorded conversation with a confidential informant. During
conversations with the informant, Widener admitted that she was a drug user and was in
possession of the .25 caliber pistol charged in the indictment. On multiple occasions prior to the
execution of the search warrant, Carr sold marijuana to an undercover confidential informant at
the residence where he and Widener reside. Widener was present during some of these
transactions.

After execution of the search warrant, Carr admitted to ATF agents that he was
trafficking in marijuana and that he had been selling marijuana for two to three years. Carr stated
that he started out selling small amounts and the amounts had increased through time. Carr
identified his source and stated he had been buying two to four pounds every two weeks and had
made approximately fifty purchases of these quantities from his current supplier. Carr also
admitted that he had traded marijuana for the shotgun and that he had the gun to protect his
drugs, money and family. The parties agree that the total amount of marijuana Carr was involved

in distributing was at least forty kilograms, but less than sixty kilograms.

Case 2:09-cr-00013-JRG Document 27 Filed 04/15/09 Page 3o0f8 PagelD#: 51
Bureau of Alcohol, Tobacco, Firearms, and Explosives has determined that the firearms
charged in the indictment were manufactured outside the state of Tennessee.
5. The defendant understands that by pleading guilty the defendant is giving up
several rights, including:
a) the right to plead not guilty;
b) the right to a speedy and public trial by jury;
c) the right to assistance of counsel at trial;
d) the right to be presumed innocent and to have the burden of proof placed on
the United States to prove the defendant guilty beyond a reasonable doubt;
e)} the right to confront and cross-examine witnesses against the defendant;
f) the night to testify on one’s own behalf, to present evidence in opposition to the
charges and to compel the attendance of witnesses; and
g) the right not to testify and to have that choice not used against the defendant.
6. The defendant further agrees to cooperate completely and truthfully with any and
all law enforcement agents and personnel of the United States Attorney's Office. This
cooperation includes, but is not limited to, meeting with and being interviewed by such law
enforcement agents or personnel of the United States Attorney's Office whenever requested, The
defendant further agrees not to protect anyone who was truly involved and not to falsely
implicate anyone who was not truly involved in the commission of criminal offenses. The
defendant further agrees to testify completely and truthfully before a federal grand jury, at any
trial, or at any other proceeding if called upon by the United States to do so. Upon request by the
United States, the defendant must furnish all documents, objects and other evidence in the
defendant’s possession, custody or control that are relevant to the United State’s inquiries. The

4

Case 2:09-cr-00013-JRG Document 27 Filed 04/15/09 Page 4of8 PagelD #: 52
defendant and defense counsel also knowingly, voluntarily, and intentionally waive the
defendant’s right (where applicable} to have defense counsel present during the course of
cooperation, including questioning or court appearances,

7. To ensure the defendant’s truthful cooperation, the United States agrees, except as
provided below, not to use any self-incriminating information provided by the defendant
pursuant to this written plea agreement against the defendant. However, nothing in this plea
agreement shall be applied to restrict the use of any information, (1} known to the United States
prior to entering into this written plea agreement; (2) obtained from any other source; or (3)
concering the defendant's prior criminal record. Should any of the following occur (1) the
defendant provides false or materially misleading information during the course of the
defendant’s cooperation; (2) the defendant later moves to withdraw the defendant’s guilty plea;
or (3) the defendant breaches any of the terms of this plea agreement, then the United States may
make use of any information provided by the defendant for any purpose in any subsequent
proceeding, including grand jury, trial and sentencing phases of this case or in any other
prosecutions or proceedings against the defendant.

8. At the time of sentencing, the United States may bring to the Court's attention the
nature, extent, and value of the defendant's cooperation so that it may be considered in
determining a fair and appropriate sentence under the facts of the case.

9, Given the defendant’s agreement to plead guilty, the United States will not oppose
a two-level reduction for acceptance of responsibility under the provisions of Section 3E1.1(a) of
the Sentencing Guidelines. Further, if the defendant 's offense level is 16 or greater, the United
States agrees to move, at or before the time of sentencing, that the Court decrease the offense
level by one additional level pursuant to Section 3E1.1(b) of the Sentencing Guidelines. Should

5

Case 2:09-cr-00013-JRG Document 27 Filed 04/15/09 Page 5of8 PagelD #: 53
the defendant engage in any conduct or make statements that are inconsistent with accepting
responsibility for the defendant's offense(s), including violations of conditions of release or the
commission of additional offenses prior to sentencing, the United States will be free not to make
such motion or to withdraw such motion if already made, and will be free to recommend to the
Court that the defendant not receive any offense level reduction for acceptance of responsibility

under Section 3E1.1 of the Sentencing Guidelines.

10. The defendant agrees to pay the special assessment in this case prior to
sentencing.
11. | No promises have been made by any representative of the United States to the

defendant as to what the sentence will be in this case. Any estimates or predictions made to the
defendant by defense counsel or any other person regarding the potential sentence in this case are
not binding on the Court. The defendant understands that the sentence in this case will be
determined by the Court after it receives the pre-sentence report from the United States Probation
Office and any information presented by the parties. The defendant acknowledges that the
sentencing determination will be based upon the entire scope of the defendant's criminal conduct,
the defendant's criminal history, and pursuant to other factors and guidelines as set forth in the
Sentencing Guidelines and the factors set forth in 18 U.S.C. § 3553.

12. The defendant agrees to pay any fine and/or restitution imposed by the Court to the
Clerk of Court. The defendant also agrees that the full fine and/or restitution amount shall be
considered due and payable immediately. If the defendant cannot pay the full amount
immediately and is placed in custody or under the supervision of the Probation Office at any
time, the defendant agrees that the Bureau of Prisons and the Probation Office will have the
authority to establish payment schedules to ensure payment of the fine and/or restitution. The

6

Case 2:09-cr-00013-JRG Document 27 Filed 04/15/09 Page 6of8 PagelD#: 54
defendant further agrees to cooperate fully in efforts to collect the fine and/or restitution
obligation by set-off of program payments, execution on non-exempt property, and any other
means the United States deems appropriate. Finally, the defendant and counsel agree that the
defendant may be contacted regarding the collection of any fine and/or restitution without
notifying counsel and outside the presence of counsel.

13. (a) In consideration of the concessions made by the United States in this
agreement and as a further demonstration of the defendant’s acceptance of responsibility for the
offense(s) committed, the defendant agrees not to file a direct appeal of the defendant’s
conviction(s) or sentence except the defendant retains the right to appeal a sentence imposed
above the sentencing guideline range as determined by the district court.

(b) In addition, the defendant knowingly and voluntarily waives the right to file
any motions or pleadings pursuant to 28 U.S.C. § 2255 or to collaterally attack the defendant’s
conviction(s) and/or resulting sentence. The parties agree that the defendant retains the right to
raise, by way of collateral review under § 2255, claims of ineffective assistance of counsel or
prosecutorial misconduct not known to the defendant by the time of the entry of judgment.

14. The defendant also expressly agrees that the defendant’s photograph, image
and/or criminal history can be publicly disclosed or displayed to further the education and
deterrence goals of Project Safe Neighborhoods.

15. This agreement becomes effective once it is signed by the parties. If the United
States violates the terms of this agreement, the defendant will have the right to withdraw from this
agreement. If the defendant violates the terms of this agreement, moves to withdraw the
defendant’s guilty plea, or violates any court order, or any local, state or federal law pending the
resolution of this case, then the United States will have the right to void any or all parts of the

7

Case 2:09-cr-00013-JRG Document 27 Filed 04/15/09 Page 7of8 PagelD #: 55
agreement and may also enforce whatever parts of the agreement it chooses. In addition, the United
States may prosecute the defendant for any and all federal crimes that the defendant committed
related to this case, including any charges that were dismissed and any other charges which the
United States agreed not to pursue. The defendant expressly waives any statute of limitations
defense and any constitutional or statutory speedy trial defense to such a prosecution. The
defendant also understands that a violation of this plea agreement by the defendant does not entitle
the defendant to withdraw the defendant’s guilty plea in this case.

16. This plea agreement constitutes the full and complete agreement and understanding
between the parties concerning the defendant's guilty plea to the above-referenced charges, and
there are no other agreements, promises, undertakings, or understandings between the defendant
and the United States. The parties understand and agree that the terms of this plea agreement can
be modified only in writing signed by all of the parties and that any and all other promises,
representations, and statements whether made before, contemporaneous with, or after this
agreement, are null and void.

JAMES R. DEDRICK
United States Attorney

 
 

 

Date ROBERT M. REEVES
Assistant United States Attorney

We j4-OS hhiCon

 

 

 

 

 

 

Date JOSH CARR
Defendant
semen N
Date JERRY ¥ LAUGHLAN
Attorney for Defendant

Case 2:09-cr-00013-JRG Document 27 Filed 04/15/09 Page 8of8 PagelD #: 56
